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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF CA}.TFORNIA — |
“September 2013 Grand Jury 42 D
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UNITED STATES OF AMERICA, Case No. 4GRe d
Plaintiff, IND IQCTMEN Tc
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Vv. Title 21, U.S.C., Secs. 952, 960,
and 963 - Conspiracy to Import
EDUARDO ESCOBEDO-SILVA (1), Marijuana; Title 18, U.S.C.,
aka “Emilio,” Secs. 1956(h) and 1956(a) (2) (A) -
CHRIS QUANG DO (2), Conspiracy to Launder Money;
Title 21, U.S.C., Sec. 853,
Defendants. Title 18, U.S.C., Sec. 982, and
Title 28, U.S.C., Sec. 2461(c) -
Criminal Forfeiture
The grand jury charges:
Count 1
Beginning no later than in or about May 2005 and continuing up to

and including July 25, 2014, within the Southern District of

California, and elsewhere, defendant EDUARDO ESCOBEDO-SILVA,
aka “Emilio,” did knowingly and intentionally conspire with other
persons, known and unknown to the grand jury, to import 1000 kilograms

and more of marijuana, a Schedule I Controlled Substance; into the
United States from a place outside thereof; in violation of Title 21,

United States Code, Sections 952, 960, and 963.

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Count 2

Beginning no later than in or about May 2005 and continuing up to
and including July 25, 2014, within the Southern District of
California and elsewhere, defendants EDUARDO  ESCOBEDO-SILVA,
aka “Emilio,” and CHRIS QUANG po did knowingly and intentionally
conspire with each other, and with other persons known and unknown to
the grand jury, to commit offenses against the United States under
Title 18, United States Code, Section 1956, namely: transport,
transmit. and transfer monetary instruments and funds, that is United
States currency, from a place in the United States to and through a
place outside the United States, with the intent to promote the
carrying on of specified unlawful activity, that is the distribution
of controlled substances, in violation of Title 18, United States
Code, Section 1956(a)(2) (A); all in violation of Title 18, United

States Code, Section 1956(h).
FORFEITURE ALLEGATIONS

1. The allegations contained in Counts 1 and 2 of this
Indictment are realleged and by reference fully incorporated herein
for the purpose of alleging forfeiture to the United States of America
pursuant to the provisions of Title 21, United States Code,
Section 853, and Title 18, United States Code, Section 982.

2. As a result of the commission of the felony offenses alleged
in Count 1 of this Indictment, said violations being punishable hy
imprisonment for more than one year and pursuant to Title 21, United
States Code, Sections 853(a)(1) and 853{a)(2), defendant EDUARDO
ESCOBEDO-SILVA, aka “Emilio,” shall, upon conviction, forfeit to the
United States all his rights, title and interest in any and all

property constituting, or derived from, any proceeds any defendant

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obtained, directly or indirectly, as the result of the felony offense
alleged in this Indictment, and any and all property used or intended
to..be used in any manner or part to commit and to facilitate .the
commission of the violation alleged in this indictment.

3. As a result of the commission of the felony offense alleged
in Count 2 of this Indictment, said violation being punishable by
imprisonment for more than one year, and pursuant to Title 18, United
States Code, Section 982(a)(1), defendants EDUARDO ESCOBEDO-SILVA,
aka “Emilio,” and CHRIS QUANG DO shall, upon conviction, forfeit to
the United States all rights, title and interest in any and all
property involved in such offense, and any property traceable to such
property.

4. If any of the above-described forfeitable property, as a
result of any act or omission of the defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a

third party;

Cc. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be

subdivided without difficulty;

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United States Code, Section 853(p), as to Count 1, and Title 21,
United States Code, Section 853(p); as..incorporated by Title 18,
United States Code, Section 982(b)(1) as to Count 2 to seek forfeiture
of any other property of the defendant up to the value of the said
property listed above as being subject to forfeiture.
All in violation of Title 21, United States Code, Section 853,
Title 18, United States Code, Section 982 and Title 28, United States
Code, Section 2461(c).
DATED: July 25, 2014.
A TRUE BILL:

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Foreperfon —

LAURA E. DUFFY
United States Attorney

or GDESR ly
ADAM L. QRAVERDAN |
Assistant U.S. Attorney a “]

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it is the intent of the United States, pursuant to Title 21,}

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